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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNIQUE IMPORTER & DISTRIBUTOR,                           )
 INC.,                                                    ) Civ. Case No. 2:19-cv-03883-JMA-AYS
                                    Plaintiff,            )
                                                          )
                         -v-                              ) NOTICE OF VOLUNTARY DISMISSAL
                                                          ) WITH PREJUDICE PURSUANT TO
 STERLING SEAFOOD CORP.,                                  ) F.R.C.P 41(a)(1)(A)(i)
 SEAFOOD WHOLESALERS LTD.,                                )
 TRUONG ENTERPRISES, INC.,                                )
 P&P ASIAN FOODS,                                         )
 BENGHAL STORES & HALAL MEAT,                             )
 GOLDEN OCEAN,                                            )
 TAMPA GROCERY,                                           )
 NATIONAL IMPORTS,                                        )
 G&G FOOD MART,                                           )
 GLOBAL MARKETING ENTERPRISES,                            )
 COLUMBUS FISH AND SEAFOOD LLC., )
 A-1 INDIAN GROCERS,                                      )
 IMAEX TRADING CO.,                                       )
 POLLI TRADING INC.,                                      )
 ZOYA USA INC.,                                           )
 KEA IMPORTS,                                             )
 SMART CHEF SUPPLY INC.,                                  )
 ANN’S INTERNATIONAL GROCERS,                             )
 CHERIANS,                                                )
 WEIS BROTHERS INC,                                       )
 KAIRALI FOODS OF GLENVIEW LLC,                           )
 GEETHA FOODS,                                            )
 FOOD GUSTO INC.,                                         )
 TT ASIAN GROCERY                                         )
                                    Defendants.           )
                                                          )
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         Plaintiff, UNIQUE IMPORTER & DISTRIBUTOR, INC., by and through its

 attorneys, PARDALIS AND NOHAVICKA, LLP., and pursuant to Federal Rule of Civil

 Procedure 41(a)(1)(A)(i) hereby gives notice that the above-referenced action is voluntarily

 dismissed with prejudice against defendant FOOD GUSTO INC.


 Dated: New York, New York
        December 4, 2019

                                              Respectfully submitted,
                                              Pardalis & Nohavicka, LLP

                                        By:      _/s/ Eleni Melekou_______
                                                    ELENI MELEKOU
                                                   Attorneys for Plaintiff
